           Case 1:20-cv-00060-SN Document 104 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      10/21/2020


FELIX CASTILLO, et al.,

                                            Plaintiffs,                    20-CV-00060 (SN)

                          -against-                                             ORDER

CORNELL PACE INC., et al.,

                                            Defendants.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        On September 29, 2020, the Court held a settlement conference between the plaintiffs

and defendants Cornell Pace Inc., MHPA 21 Maintenance LLC, Cornell Pace, and John Does. A

tentative settlement agreement was reached between the parties, and they were directed to file a

settlement approval letter in compliance with Cheeks v. Freeport Pancake House, Inc., 796 F.3d

199 (2d Cir. 2015), with either Judge Nathan, or consent to my jurisdiction and file such a letter

for my review. The parties consented to my jurisdiction on October 5, 2020, yet no settlement

approval letter followed.

        Accordingly, the parties are directed to file a joint letter informing the Court about the

status of this case by Tuesday, October 27, 2020.

SO ORDERED.



DATED:           New York, New York
                 October 21, 2020
